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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

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No. pg -°QQ_/£[ 'D MBE
UNITED STATES OF AMERICA

VS.

 

 

GUSTAVO TAPIAS,
Defendant.
/
CRIMINAL COVER SHEET

l. Did this matter originate from a matter pending in the Northern Region of the United States

Attorney’s 0ffice prior to October 14, 2003? Yes X No
2. Did this matter originate from a matter pending in the Central Region of the United States

Attorney’s Oft`ice prior to September l, 2007? Yes X No

Respectfully submitted,

R. ALEXANDER ACOSTA
UNITED STATES ATTORNEY

 

MICHAEL"S. DAVIS

ASSlSTANT UNITED STATES ATTORNEY
FL BAR # 972274

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UN|TED STATES D|STR|CT COURT

SOUTHERN D|STR|CT OF FLOR|DA
UN|TED STATES OF AMER|CA
v. CR|M|NAL CO|V|PLA|NT

GUSTAVO TAP|AS

cAsE NuMBER: 0)7'~,'2/4/7£/ »DMB£ /

|, the undersigned complainant, being duly sworn, state the following is true and correct to the best of my knowledge
and belief. Beginning in or around the mid-19905 and continuing through in or around 2006, the exact dates being
unknown, in Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendant did knowingly and
intentionally combine, conspire, confederate, and agree with other persons known and unknown, to import into the
United States from a place outside thereof, a controlled substance, in violation of Title 21, United States Code, Section
952(a); all in violation of Title 21, United States Code, Section 963.

l further state that l am a Special Agent with the Federa| Bureau of lnvestigation and that this complaint is based on the
following facts:

SEE ATTACHED AFF|DAV|T

Signature of Compiainant
PAUL HENRY TWEHUES, ll|
Special Agent, Federa| Bureau of investigation

Sworn to before me, and subscribed in my presence,

` la §;“ q fig at Miami, Florida

Date City and State

Robert L. Dubé c
United States Magistrate Judge

Name and Title of Judicial Officer Signature of Judicial Officer

 

 

 

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AFFIDAVIT

I, Paul H. Twehues, III, being duly sworn, depose, and state:

l. I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been
so employed for approximately eleven years.

2. As a Special Agent with the FBI, I specialize in investigations of narcotics offenses,
with a particular concentration on offenses arising out the operations of what is commonly known
as Colombia’s North Valley Cartel. My duties have included investigations involving the North
Valley Cartel for approximately nine and one-half years.

3. I am submitting this affidavit for the limited purpose of establishing probable cause
to support a criminal complaint and arrest warrant against Gustavo Tapias, a/k/a “Techo.” As such,
this affidavit does not set forth all facts known to me with respect to Tapias or his criminal conduct
Rather, it sets forth merely those facts insofar as they may be necessary to establish probable cause.
This affidavit is based upon information that I have obtained in the course of my employment, as
well as information provided to me by governmental officials from the United States and Colombia.

4. By the mid-1990s, the North Valley Cartel eclipsed what had been known as the Cali
Cartel as Colombia’s most prolific cocaine production and transportation cartel. The North Valley
Cartel consists of a group of affiliated Colombian traffickers with various roles in the cocaine
trafficking world. Some operate labs that produce the cocaine. Others are investors who purchase
and control the cocaine once it is produced Others are transporters who arrange for and supervise
routes for the cocaine to be smuggled out of Colombia and eventually into the United States.

5. Tapias started in the Colombian drug trafficking world as a member of the former

Medellin Cartel. Following the fall of the Medellin Cartel, Tapias nonetheless remained an active

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and prominent drug trafficker. By the mid-1990s, Tapias’s activities eventually gravitated towards
facilitating the trafficking operations of prominent members of what eventually became to be known
as the North Valley Cartel.

6. Based upon information provided by cooperating witnesses who in the past have been
shown to be reliable, dating back to at least the mid-199OS Tapias assisted North Valley Cartel
traffickers by using his connections among different cocaine traffickers to match partners together
in smuggling operations Tapias participated with a ring of prominent Colombian traffickers who
from the mid- l 9903 through remainder of the decade routinely smuggled large loads of cocaine from
Colombia to Mexico, from where they were transhipped to destinations in the United States that
included the Miami area. These traffickers included, among others, Gabriel Puerta-Parra and now-
deceased trafficker Edgar Marroquin. Tapias would be paid from the proceeds of cocaine
successfully trafficked through these operations Marroquin was murdered in January 2001.
However, based upon a cooperating witness who in the past has been shown to be reliable, following
Marroquin’s death Tapias continued working with other traffickers to facilitate the smuggling of
large loads of cocaine into the United States.

7. In recent years, Tapias’s role in the North Valley Cartel has evolved to include
utilizing his connections to assist traffickers by helping them to obtain information from law
enforcement A cooperating witness has advised law enforcement that in 2003 or 2004 he went to
a Colombian attorney for an introduction to sources in law enforcement who could advise the
cooperating witness and the witness’s partner about an investigation that eventually led to their

indictment in this District. The lawyer in turn contacted Tapias, who introduced the attorney to a

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former Colombian law enforcement officer and a second individual. The attorney in turn introduced
the cooperating witness to the former law enforcement officer and the second individual.

8. The cooperating witness met with the former law enforcement officer and the second
individual in Tapias’s office in Colombia. The cooperating witness explained that there possibly was
an investigation involving him and asked the former law enforcement officer to find out as much
information as possible. The next day, the former law enforcement officer met with the cooperating
witness and explained that his boss needed to be paid $10,000 for the information Although the
cooperating witness contacted Tapias to protest the amount that the former law enforcement officer
demanded, the cooperating witness eventually acquiesced and paid the full amount. Among the
information that the former law enforcement officer eventually provided to the cooperating witness
was a U.S. government communication to Colombian law enforcement that requested information
on the cooperating witness.

9. The cooperating witness continued dealing with the former Colombian law
enforcement officer through sometime in 2006 and met with Tapias as late as 2006 in an attempt to
obtain information about the U.S. investigation and the witness’s possible exposure.

10. The information provided by this cooperating witness regarding Tapias’s role through
2006 in assisting in obtaining confidential law enforcement information from Colombian law

enforcement is consistent with that provided to me by another cooperating witness.

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l l . The object of Tapias’ s activities in attempting to obtain confidential information from
Colombian law enforcement was to protect traffickers from arrest and to ultimately protect their

ability to transport cocaine from Colombia to the United States.

VW%MMF

PAUL H. TWEHUES, III
SPECIAL AGENT
FEDERAL BUREAU OF INVESTIGATION

 

Sworn and subscribed to before me

this H, day of July 2008,
at Miami, Florida, in the Southern

District of Florida.

RoBERT L. DUBE
UNITED s'rATEs MAGISTRATE JUDGE

